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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CRIMINAL NO. 21-cr-399 (RDM)
               v.                              :
                                               :
ROMAN STERLINGOV,                              :
                                               :
                       Defendant.              :

                                              ORDER

       Upon consideration of the parties’ Joint Status Report and Motion To Exclude Time Under

Speedy Trial Act,

       IT IS ORDERED, that the parties shall submit a further Joint Status Report no later than

March 14, 2022; and

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3161(h)(7)(A), that the time period

from January 14, 2022 until March 14, 2022 be excluded from computation of time under the

Speedy Trial Act in this case, in order to give defense counsel time to review the voluminous

discovery in this matter and to allow time for the parties to engage in discussions regarding possible

disposition of this matter short of trial, and that the ends of justice served by taking such action

outweigh the best interest of the public and the defendant in a speedy trial.

Dated this ______ day of January, 2022.




                                                      RANDOLPH D. MOSS
                                                      UNITED STATES DISTRICT JUDGE
